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                                           UNITED STATES DISTRICT COURT
                                            FOR THH DISTRICT OF OREGON

          UNITED STATES OF AMERICA                                                                     ORDER SETTING CONDITIONS
                              V.                                                                                     OF RELEASE

          Kimberlee Spring Pitawankakwat                                                                   Case Number: 6:20-mj-243-MK
IT IS ORDERED that the release of the defendant is subject to the following conditions:

(1)         The defendant shall not commit any offense in violations offederal, state or local law while on release in this case.

(2)         The defendant must cooperate in the collection ofa DNA sample if the collection is authorized by 42 U.S.C § 14135a.

(3)         The defendant shall immediately advise the court through pretrial services or defense counsel in writing of any change in
           address and telephone number.

(4)        The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as directed.
           The defendant shall next appear as directed by U.S. District Court.

                                                         Additional Conditions of Release

IT IS FURTHER ORDERED that the defendant be released provided that the defendant:

      •    Report as directed by the u.S. Pretrial services office.
      •    Find and maintain gainful full-time employment, approved schooling or a full-time combination of both, as directed and
           approved by Pretrial Services.
      •    Do not change place ofresiden6e without the prior approval ofu.S. Pretrial services.
      •    Travel is limited to oregon and south Dakota unless prior approval is obtained from u.S. Pretrial services.
      •    Neither own, possess, nor control any firearm (or any weapon).
      •    The defendant shall not have direct or indirect contact with the following named persons: Alleged victims

                                                        Advice of Penalties and Sanctions

T0 THE DEFENDANT:

           YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

          A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a revocation of
release, an order of detention, forfeiture of bond, and a prosecution for contempt of court and could result in a term of imprisonment, a fine, or both.

           The commission of any crime while on pre-trial release may result in an additional sentence to a tern of imprisonment of not more than ten
years, if the offense is a felony; or a term of imprisonment of not more than one year, ifthe offense is a misdemeanor. This sentence shall be in addition
to any other sentence.

          Federallawmakesitacrimepunishablebyuptotenyearsofimprisonment,anda$250,000fineorbothtointimidateorattempttointimidate
a witness, victim, juror, infomant or officer of the court, or to obstruct a criminal investigation. It is also a crime punishable by up to ten years of
imprisonment,a$250,000fmeorboth,totamperwithawitness,victimorinformant,ortoretaliateagainstawitness,victimorinformant,ortothreaten
or attempt to do so.

         If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence, you may be
prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1)        an offense punishable by death, life imprisonment or imprisonment for a term offifteen years or more, you shall be fined not more than
          $250,000 or imprisoned for no more than ten years, or both;

(2)        an offense punishable by inprisonment for a term offive years or more, but less than fifteen years, you shall be fined not more than $250,000
          or imprisoned for no more than five years, or both;

(3)        any other felony, you shall be fined not more than $250,000 or imprisoned no more than two years, or both;
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(4)        a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both;

           A ten of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In addition, a
failure to appear may result in the forfeiture of any bond posted.

                                                           Acknowledgment of Defendant

           I acknowledge that I an the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions of
release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                                         Signature of Defendant

                                                                                         3}i_4_ttov2-                        C21SSO
                                                                                                             City, State & Zip

Special Needs Finding:
Based upon the above conditions, including the conditions relating to:
I        Alcohol detection
I        Drug detection
I        Computer monitoring
The Court is reasonably assured the defendant will appear as directed and not pose a danger to the community or any other person.

Directions to the United States IVIarshal
E       The defendant is ORDERED released after processing.
H        The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk, Pretrial Services or
         judicial officer that the defendant has posted bond and/or complied with all other conditions for release including space
         availal.ility at a community corrections center or residential treatment facility. If still in custody, the defendant shall be
         produced before the duty Magistrate Judge on                                                   at




                                                                                                   Signature of Judicial Officer
                                                                                                       Miista{`a T. Kasubhai
                                                                                                   U.S. Magistrate Judge
                                                                                               Name and Title of Judicial Officer

cc :     Defen dant
         US Attorney
         US Marshal
         Pretrial Services




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